 

__. ______ Case 5:07-ev-00907-HGM-GHE-— Document 1-2—Filted-09/04/07 Page 1 ofS

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA, )
Plaintiff, )
)
Vv. ) Court No.

)
Cavalry Group, )

449 East Washington Street a) 0
Syracuse, NY 13202 8 )
Garnishee, )
)
Scott Brennan, )
Defendant. )

CLERK'S NOTICE OF GARNISHMENT.

You are hereby notified that a garnishment is being taken by the United States of America
which has a judgment in Case No. 5:00-CR-00580-001 in the U.S. District Court for the Northern
District of New York in the sum of $96,174.92, plus interest, if any, and costs. A balance of
$40,174.10 through September 4, 2007 remains outstanding.

In addition, you are hereby notified that there are exemptions under the law which may
protect some of the property from being taken by the Government if you can show that the

exemptions apply. Attached is a summary of the major exemptions which apply under federal law.
 

 

Case-5:07-cv-00907-HGM-GHE- Document 4-2 Filed 09/04/07 Page 2of 5

You have a right to ask the Court to apply any exemption to which you feel you are entitled
or if you question this garnishment.

You have a right to ask the court to return your property to you if you think you do not owe
the money to the Government that it claims you do, or if you think the property the Government is
taking qualifies under one of the above exemptions.

If you want a hearing, you must notify the court within 20 days after receipt of the notice.
Your request must be in writing. If you wish, you may use this notice to request the hearing by
checking the space below. You must either mail it or deliver it in person to the Clerk of the U.S.
District Court at U.S. Courthouse, P.O. Box 7367, 100 South Clinton St., Syracuse, NY 13261-7367.
You must also send a copy of your request to the U. S. Attorney at P.O. Box 7198, 100 South
Clinton St., Syracuse, NY 13261-7198 notifying the Government that you want a hearing.

The hearing will take place within 5 days after the Clerk receives your request, if you ask for
it to take place that quickly, or as soon after that as possible.

At the hearing you may explain to the judge why you think the Government is not entitled
to the funds garnished or why you think you do not owe the money to the Government.

If you think you live outside the Federal judicial district in which the court is located, you
may request, not later than 20 days after you receive this notice, that this proceeding be transferred
by the court to the Federal judicial district in which you reside. You must make your request in
writing, and either mail it or deliver it in person to the Clerk of the Court at U.S. Courthouse, P.O.
Box 7367, 100 South Clinton St., Syracuse, NY 13261-7367. You must also send a copy of your
request to the Government at the U.S. Attomey's Office, P.O. Box 7198, 100 South Clinton St.,

Syracuse, NY 13261-7198.

 
_ Case 5:07-cv-00887-HGM-GHE--Document-4-2- Filed 09/04/87 Page 3S ofS

Be sure to keep a copy of this notice for your own records. If you have any questions about
your rights or about this procedure, you should contact a lawyer, an office of public legal assistance,
or the Clerk of the Court. The clerk is not permitted to give Jegal advice, but can refer you to other
sources of information.

LAWRENCE K. BAERMAN

Clerk, U.S. District Court

By:
Date Deputy Clerk

 

I request a hearing within 5 days (Exemption checked below)

 

Date Defendant/Debtor

 
——___€ase-5:07-cv-00907-HGM-GHE— Document 1-2~ Filed 09/04/07 Page-4-of 5—---_—

CLAIM FOR EXEMPTION FORM
EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. §3613)

NOTE: 18 U.S.C. §3613(a), the federal statute governing hens arising from
criminal fines and restitution obligations, generally incorporates the exemptions |
available to individual taxpayers under the Internal Revenue Service Code.

I claim that the exemption(s) from enforcement checked below apply in this case:

1.

Wearing apparel and school books. Such items of wearing apparel and such
school books as are necessary for the debtor or for members of his family.

Fuel, provisions, furniture, and personal effects. So much of the fuel, provisions,
furniture, and personal effects in the Debtor's household, and of the arms for per-
sonal use, livestock, and poultry of the debtor, as does not exceed $6,250 in value.

Books and tools of a trade, business, or profession. So many of the books, and
tools necessary for the trade, business, or profession of the debtor as do not
exceed in the aggregate $3,125 in value.

Unemployment benefits. Any amount payable to an individual with respect to his
unemployment (including any portion thereof payable with respect to dependents)
under an unemployment compensation law of the United States, of any State, or of
the District of Columbia or of the Commonwealth of Puerto Rico.

Undelivered mail. Mail, addressed to any person, which has not been delivered to
the addressee.

Certain annuity and pension payments. Annuity or pension payments under the
Railroad Retirement Act, benefits under the Railroad Unemployment Insurance
Act, special pension payments received by a person whose name has been entered
on the Amy, Navy, Air Force and Coast Guard Medal of Honor roll (38 U.S.C.

§ 1562), and annuities based on retired or retainer pay under Chapter 73 of Title 10
of United States Code.

Workmen's Compensation. Any amount payable with respect to compensation
(including any portion thereof payable with respect to dependents) under a
workmen's compensation law of the United States, any State, the District of
Columbia, or the Commonwealth of Puerto Rico.

Judgments for support of minor children. If the debtor is required by judgment of
a court of competent jurisdiction, entered prior to the date of levy, to contribute to
the support of his minor children, so much of his salary, wages, or other income as
is necessary to comply with such judgment.

 
9. Certain service-connected disability payments. Any amount payable to an
individual as a service-connected (within the meaning of section 101(16) of Title
38, United States Code) disability benefit under: (A) subchapter II, WLIV, V, or V1
of Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32, 34, 35,37, or 39
of such Title 38.

10. Assistance under Job Training Partnership Act. Any amount payable to a
participant under the Job Training Partnership Act (29 U.S.C. §1501 et seq.) from
funds appropriated pursuant to such Act.

11. Minimum exemptions for wages, salary and other income. The exemptions under
26 U.S.C. §6334(a)(9) do not apply in criminal cases. The exceptions under the
Consumer Credit Protection Act, 15 U.S.C. §1673, for disposable earnings,
automatically apply and do not need to be claimed. The aggregate disposable
earnings of an individual for any workweek which is subjected to gamishment
may not exceed (1) 25% of his disposable earnings for that week, or (2) the
amount by which his disposable earnings for that week exceed thirty times the
Federal minimum hourly wage in effect at the time the earnings are payable,
whichever is less.

The statements made in this claim of exemptions and request for hearing as to exemption
entitlement and fair market value of the property designated are made and declared under penalty
of perjury that they are true and correct.

I hereby request a court hearing to decide the validity of my claims. Notice of the hearing
should be given to me by mail at:

( )

(Address)

or telephonically at ( )
Area Code Phone No.

 

Debtor's printed or typed name

 

Signature of debtor Date

 
